            Case 3:19-md-02885-MCR-HTC Document 3808-1 Filed 08/28/23 Page 1 of 2


Donna Bajzik

From:                FLNDdb_efile MDL
Sent:                Monday, August 28, 2023 9:16 AM
To:                  Blair Patton; Kimberly Westphal; Donna Bajzik; Elizabeth Lawrence; Allison Hunnicutt
Subject:             FW: Activity in Case MDL No. 2885 IN RE: 3M Combat Arms Earplug Products Liability Litigation
                     Conditional Transfer Order Finalized




From: JPMLCMECF@jpml.uscourts.gov <JPMLCMECF@jpml.uscourts.gov>
Sent: Monday, August 28, 2023 2:15:33 PM (UTC+00:00) Monrovia, Reykjavik
To: JPMLCMDECF <JPMLCMDECF@jpml.uscourts.gov>
Subject: Activity in Case MDL No. 2885 IN RE: 3M Combat Arms Earplug Products Liability Litigation Conditional Transfer
Order Finalized

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Notice of Electronic Filing

The following transaction was entered on 8/28/2023 at 10:15 AM EDT and filed on 8/28/2023
Case Name:          IN RE: 3M Combat Arms Earplug Products Liability Litigation
Case Number:        MDL No. 2885
Filer:
Document Number: 1959

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-204) - 1 action(s) re: pldg. ([1955] in MDL
No. 2885, 1 in MN/0:23-cv-02482) Inasmuch as no objection is pending at this time, the stay is
lifted.

Signed by Clerk of the Panel Tiffaney D. Pete on 8/28/2023.

Associated Cases: MDL No. 2885, MN/0:23-cv-02482 (dld)

Case Name:       Alicea et al v. 3M Company
Case Number:     MN/0:23‐cv‐02482
Filer:
Document Number: 3

                                                             1
           Case 3:19-md-02885-MCR-HTC Document 3808-1 Filed 08/28/23 Page 2 of 2

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-204) - 1 action(s) re: pldg. ( [1955] in MDL
No. 2885, 1 in MN/0:23-cv-02482) Inasmuch as no objection is pending at this time, the stay is
lifted.

Signed by Clerk of the Panel Tiffaney D. Pete on 8/28/2023.

Associated Cases: MDL No. 2885, MN/0:23-cv-02482 (dld)


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Original filename:n/a
Electronic document Stamp:
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[cb2b55503e4d98e09efaca31d83661e779ae3528f382b372e0662b9765bb814c0560
076cda24b496a56f42f18867ba0d011e40cfb60b2c923dcc3bf7f10a274f]]




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